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                             INDIVIDUAL PRACTICE RULES OF
                            MAGISTRATE JUDGE ANNE Y. SHIELDS


                                    100 Federal Plaza
                                    P.O. Box 840
                              Central Islip, New York 11722
                                      Courtroom 840
          For All Communications with Chambers Refer to Rule II. B

          Chambers E-mail: shields_chambers@nyed.uscourts.gov

          Chambers (631) 712-5710

          Courtroom Deputy: Jasmine Torres (631) 712-5714

          Law Clerk: Deanna Minerva (631) 712 -5713 (Even docket numbers)
          Law Clerk: Dina Mucciaccio (631) 712-5712 (Odd docket numbers)
 I.     Electronic Case Filing (ECF)

 A.     All documents in civil actions, except for voluminous documents, must be filed
  electronically. Documents may be electronically filed under seal only if filed pursuant to the
  Court’s settlement rules or with prior permission of the Court. Information regarding
  electronicfiling is available on the Eastern District website. Questions regarding ECF filing or
  training onECF should be directed to the Central Islip Clerk’s office at (631) 712-6030

 B.    All attorneys representing parties in cases assigned to this court must file a Notice of
  Appearance and register to receive ECF notifications prior to filing any documents, and prior
  tomaking a personal appearance before the court.

 C.     Orders of the Court will be electronically docketed. No hard copies will be mailed
  to counsel.

 D.    Any document seeking relief of any kind from the court must be electronically filed as
  a “Motion,” and not as a “Letter” under the ECF “Other Documents” option.

 E.     Unless otherwise ordered, and subject to the exceptions set forth herein, courtesy
  copies of electronically filed documents should not be provided to the court. Courtesy copies
  of the following documents must be provided to the court: (1) motions with all exhibits; (2)
  motions referred for decision to this court by District Court Judges. All courtesy copies
  submitted to Chambers must be marked “Courtesy Copy,” “Original Filed ECF” with the
  assigned docket entry indicated. Courtesy copies of exhibits and appendices are to be clearly
  labeled and tabbedand where, appropriate may be submitted in a binder. Such copies should
  not be “Velobound.” Courtesy copies should be mailed to Chambers on the filing date;
  overnight or expedited mail is

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 not required unless otherwise ordered by the Court.

 F.      Counsel need not electronically file documents that cannot be readily converted to a
  form that may be electronically filed. In such cases, counsel must electronically file the letter
  or noticeof motion to which the non-electronically filed material is attached. A hard copy (for
  filing) and a courtesy copy of such documents must be provided to the court. Copies of such
  documents must also be provided to opposing counsel. Questions regarding such documents
  may be addressed to the court.

 II.    Communication with Chambers


 A.     Telephone Calls Permitted

         Telephone calls to chambers are permitted. Calls regarding scheduling of criminal
 matters should be directed to the Courtroom Deputy at (631) 712-5714 Calls regarding civil
 matters should be directed to the Law Clerks at (631) 712-5710. Calls regarding the substance
 of any matter should be made only jointly with opposing counsel on the line. As officers of the
 court, counsel are responsible for informing all adversaries of any communication with
 Chambers.

 B.     Email Communication Prohibited Without Prior Authorization

 In order to avoid inappropriate ex parte communication with Chambers, communication via
 Chambers email is prohibited without prior authorization of this Court. Counsel shall always
 endeavor to confer and then submit a joint communication via ECF. In the event a joint
 communication is impracticable, counsel may submit a letter to the Court via ECF. The Court
 monitors ECF filings diligently and will receive the communication. At the same time all parties
 will be aware of the communication.



 III.   Adjournments and Extensions of Time

         In the absence of extraordinary circumstances, all requests for adjournments of any kind
 are to be made via an ECF motion, and are to be made no later than 48 hours prior to the
 scheduled appearance date or deadline. Prior to seeking any adjournment, the parties are
 expected to confer and grant each other the courtesy of agreeing to reasonable requests to
 adjourn, especially upon the first request for any adjournment. All requests for adjournments
 must include the following information:

        A.      The original date of the appearance or deadline;

        B.      Whether there have been prior requests for adjournment;



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        C.      Whether all parties consent to the adjournment, and in the event that any party
  refuses to consent to the adjournment, the reason for that refusal;

        D.     Three agreed upon suggested dates for adjournment (in the absence of consent,
  the requesting party may suggest three dates that are acceptable).

        In the event that the requested adjournment affects any other scheduled dates, a
 proposed revised scheduling order must be attached to the motion.

         This Court cannot extend deadlines, including discovery deadlines, set by the assigned
 District Court Judge. Accordingly, any extensions of such deadlines must be made to the District
 Court Judge.

 IV.    Pro Se Litigants

         Questions and assistance regarding pro se litigation may be addressed to the Court’s
 pro se office at (631) 712-6060.

         Pro se litigants are advised of the limited legal representation available at the Pro Se
 Legal Assistance Program, located in Room 124B of the Central Islip Courthouse. The clinic
 is independently operated and is not affiliated with the Court. Consultations are available by
 appointment. The clinic can be reached at (6 31) 297-2575 or at PSLAP@Hofstra.edu.

         Unless otherwise ordered, pro se litigants are exempt from ECF filing requirements.
 Parties represented by counsel in cases involving pro se litigants are not similarly exempt. Unless
 otherwise ordered, the Court will mail copies of orders to pro se litigants. Pro se litigants are
 responsible for keeping contact information and, if ordered, an e-mail address, on file with the
 Court or risk dismissal of claims.

         Pro se parties without ECF access must make filings via hand deliver y or U.S. mail: to
 the designated “pro se clerk” in the clerk’s office, to the attention of Magistrate Judge Shields
 and the assigned District Judge, and by U.S. mail to the attorneys for all other parties. Copies of
 court orders will be provided by the court to pro se litigants via U.S. mail and need not be served
 by opposing counsel, unless directed by the court. All pro se litigants and represented parties
 opposing pro se litigants are directed to the relevant Local Civil Rules, including Rules 7.1, 12.1,
 33.2 and 56.2.


 V.     Initial Conferences

         The court will schedule a Rule 16 initial conference after issue is joined and the parties
 have had the opportunity to conduct a Rule 26 conference. Pursuant to Rule 26(f), the parties
 must confer prior to the conference to discuss the claims and defenses in the lawsuit as well as
 the nature and extent of disclosure and discovery necessary to reach a prompt disposition of
 the matter. The parties are required to collaborate regarding the completion of the Joint Letter
 as well as any form required to be submitted by this Court prior to the initial conference. The
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 parties’ Rule 26 conference should also include a discussion of the exchange of electronically
 stored information (“ESI”).

 VI.    Forms to be Completed Prior to Initial Conference

         In all cases this Court’s “Initial Joint Letter” annexed as Exhibit G shall be submitted to
 the Court via ECF no later than two days prior to the Initial Conference. Counsel are directed
 to familiarize themselves with forms to be submitted prior to the initial conference. In all cases,
 counsel must confer and prepare Exhibit B (Discovery Plan Worksheet) as well as the required
 Joint Letter. In all cases alleging an FLSA violation Counsel must confer and also complete
 form Appendix C hereto prior to the Initial Conference.In FLSA cases the dates in the
 Discovery Plan Worksheet should conform to the dates in Appendix C.

        All forms required must be submitted to the court via ECF no later than three business
 days prior to the initial conference.


 VII.   Discovery



 A.     General Discovery Rules

        1.      Uniform Definitions in Discovery Requests

         Counsel are directed to consult Local Rule 26.3 which sets forth “Uniform Definitions in
 Discovery Requests.” The definitions set forth therein are deemed incorporated in all discovery
 requests and counsel are directed to refrain from the use of any other definitions of the terms set
 forth therein. Counsel need not draft specific definitions in discovery requests but may reference
 the local rule in such requests.

        2.      Claims of Privilege

         Counsel are directed to consult Local Rule 26.2 for directions as to the proper way to
 assert claims of privilege.

 B.     Tiered Discovery

         Discovery shall proceed in tiers designed to minimize the expense and burden
 to the parties and to facilitate the earliest possible settlement or trial.

        1.      Tier One Discovery in General

         Tier One Discovery shall consist of the exchange of initial disclosures and any other
 readily available documentary evidence supporting claims or defenses. Counsel shall confer to
 consider the scope of such discovery and, if appropriate, include the exchange of documents
 addressed to the existence of personal and federal subject matter jurisdiction and venue. During
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      Tier One discovery, the parties should engage in initial discussions regarding the production of
      electronically stored information (“ESI”). Tier One discovery is expected to be completed no
      later than 60 days of the initial conference. The scope of Tier One discovery (including any
      agreements reached regarding the exchange of ESI) must be discussed prior to the initial
      conference and the parties should appear at the conference ready to enter into agreement as to
      the scope of such discovery.

              At the conclusion of Tier One Discovery, the parties should be in a position to enter into
      meaningful settlement discussions or be able to identify additional limited discovery necessary
      to put the matter into a meaningful settlement posture. A settlement conference may be
      scheduled following the completion of such discovery. That conference will be governed by the
      “Settlement Conference” rules set forth below.

              2.     Discovery in Particular Cases (FLSA, Employment, and ADA Cases)

              Tier One Discovery in cases alleging violation of the FLSA is governed by this
      Court’s Order appearing in Appendix C hereto. In cases alleging violation of the FLSA, the
      parties will be referred for mediation with the Eastern District FLSA mediation program. Tier
      Two discovery is such cases will not begin until after the parties take part in that mediation.

        In cases where the parties agree to conditional collective action certification, they are directed to utilize
the forms annexed hereto as Appendices D (stipulation regarding conditional collective action certification) and
E (court authorized notice of lawsuit). These forms have been developed by the Court and are presumptively
appropriate for use without any requirement for prior approval by the Court.

             Tier One Discovery in cases alleging employment discrimination is governed by this
      Court’s initial employment protocols appearing in Appendix F hereto.

              Tier One Discovery in cases alleging lack of access pursuant to the Americans with
      Disabilities Act (the “ADA”) shall consist of the exchange of Plaintiff’s statement describing
      in detail the access that is alleged to be denied under the ADA, and Defendant’s response
      thereto. Counsel shall be prepared to discuss such access issues at the initial conference. During
      Tier I discovery, the parties are expected to reach an agreement as to dates certain for the
      exchange of expert reports detailing their position s regarding the access alleged to have been
      unlawfully denied.

              3.     Tier Two Discovery

             Tier Two Discovery is the balance of discovery necessary to prepare for trial. Tier Two
      discovery includes documentary discovery not previously undertaken, including the full
      production of ESI, the taking of all depositions and expert discovery.

      C.     Discovery Disputes/Motions

             Counsel must first undertake a good faith effort to resolve any discovery disputes,
      including a request to limit or terminate a deposition, without court intervention. Where attorneys

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 cannot agree upon resolution of a discovery dispute, they shall initiate a conference call with
 this court by calling chambers at (631) 712-5710. Attorneys may not bring a discovery motion
 before the court until they have complied with these rules. This court does not accept letter
 motions unless authorized to do so after the telephone conference is held. In the event that a
 discovery dispute raised in a telephone conference is not resolved during the telephone
 conference, counsel will be instructed as to the procedure and time frame for the making of a
 formal motion.

 D.     Form Stipulation and Order of Confidentiality

         A “Stipulation and Order of Confidentiality” in the form annexed hereto as Appendix A
 is to be used in cases requiring the exchange of what the parties deem to be confidential
 information. This form order is presumptively entitled to approval by this court. Any changes to
 this form of order are to be submitted for court review along with an explanation as to why the
 proposed change is necessary.

 VIII. Settlement Conferences

 Settlement conference may be scheduled upon the close of Tier One discovery and/or upon the
 request of the parties. Cases alleging violation of the FLSA will be referred to the Eastern
 District’s FLSA Mediation Program. All settlement conferences held by this Court will be
 governed by the following procedure:

        A.      Exchange of Demand and Offer

         Prior to any settlement conference the parties must exchange a demand and offer. At least
 ffourteen (14) days prior to the conference, Plaintiff’s counsel must communicate a written
 demand to Defense counsel. That demand must explain the reason why the demand is
 appropriate. The demand must also reference any mathematical calculation used to support the
 demand.

          No later than seven (7) days prior to the scheduled conference, Defense counsel must
 respond to Plaintiff’s counsel’s demand. That response must contain a clear reply to the offer
 of settlement, and an explanation as to its propriety.

        B.      Settlement Statements

 No later than three (3) business days prior to the settlement conference, each party shall e-mail a
 confidential settlement statement, not exceeding three pages, (exclusive of exhibits) to
 shields_chambers@nyed.uscourts.gov.

         The settlement statement shall set forth the current demand and offer. It must also specify
 the terms under which the party is willing to settle the matter. The settlement statement must
 indicate whether the terms are negotiable and include all material terms of the proposed
 settlement, including the settlement amount, time for payment, requests regarding injunctive
 relief and confidentiality, and the inclusion of attorney’s fees.

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         Failure to timely submit the required settlement statement may result in cancellation
 of the settlement conference.

        C.      Settlement Conference

         Parties and insurers with authority to settle must attend the settlement conference.
 Remote appearances are not allowed. If a settlement requires approval of a governmental body
 or board of directors, the individual attending the conference must be authorized to approve and
 submit a recommendation to that entity. In lieu of a settlement conference parties may request a
 referral to the EDNY Mediation Program.

 X.     Motions

        A.      Judge to Whom Motions are to be Made

         In the first instance Counsel must conform with the Rules of the assigned District
 Court Judge when determining whether a motion is properly filed with that Court. All
 dispositive motions are to be made to the assigned District Court Judge in accord with the rules
 of that Court. Unless specifically ordered otherwise, all non-dispositive motions are to be
 made to this Court.

        B.      Motions for Admission Pro Hac Vice

        Motions for admission pro hac vice, together with a proposed order admitting the
 attorney shall be served and filed. Counsel are directed to consult Local Rule 1.3(c) and sample
 forms available on the Eastern District website.

        C.      Pre-Motion Conferences in Civil Cases

          For procedures regarding discovery motions, see Rule VI(C) requiring that discovery
 disputes be raised first by way of conference call. For all other motions where parties are
 represented by counsel, a pre-motion conference is necessary. A pre-motion conference can
 be requested by way of an electronically filed letter. Such letters are to be filed as ECF
 motions seeking a court conference. Letters requesting pre-motion conferences shall state, in
 brief, the
 grounds for the motion, shall not exceed two pages, and shall not include affidavits or exhibits.
 All parties served with a pre-motion letter shall serve and file a letter response, not to exceed
 two pages, within seven days from service of the pre-motion conference letter.

         A briefing schedule will be established at the pre-motion conference. Absent
 extraordinary circumstances or unless this court orders otherwise, pre-motion conferences
 shall be held in person and not via telephone conference.

        D.      Motions in Cases in Which Parties Have Consented to Magistrate Judge Shields

         Parties may consent to refer a civil case to Magistrate Judge Shields for all purposes,
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 including entry of judgment. n cases that are before Magistrate JudgeShields for all purposes, a
 pre-motion conference is necessary before any motion is made. A pre-motion conference can be
 requested by way of an electronically filed letter pursuant to the procedure set forth in Rule
 VIII(C) above.

        Parties may also consent to the jurisdiction of Magistrate Judge Shields for the limited
 purpose of rendering a decision on a dispositive motion that has been referred to Magistrate
 Judge Shields for Report and Recommendation.

        E.      Memoranda of Law

          Memoranda of law in support of and in opposition to motions shall not exceed twenty
 five pages in length. Reply memoranda of law shall not exceed ten pages in length. With the
 exception of bringing newly decided cases or law to the attention of the court, and unless
 otherwise ordered, there shall be no additional briefing. All memoranda of law shall contain a
 table of contents and authorities. All memoranda of law shall use at least one inch margins,
 double spacing and be in 12 point type. Footnotes are discouraged. However if the use of
 footnotes is unavoidable, they need not be double spaced, but must be in the same 12 point type
 as text.

        F.      Service and Filing of Motion Papers

         No motion papers are to be filed electronically until the motion is fully briefed. The
 notice of motion and all supporting papers are to be served on all other parties along with a
 cover letter setting forth whom the movant represents and identifying the papers being served. A
 copy of this cover letter is to be electronically filed. A party responding to a motion shall serve
 the moving party with a courtesy copy of the responding papers, for later filing with the court.

         On the date that the motion is fully briefed, each party shall be responsible for the
 electronic filing of its own motion papers. It is not necessary to file separately each exhibit to a
 motion. However, to ensure ease of reference, exhibits filed electronically must be described on
 the electronic docket, and not be referred to merely by exhibit letter or number. For example, it is
 insufficient to file an exhibit only as “Exhibit A.” Instead, it must be made clear, on the docket,
 the nature of the Exhibit. For example, it is appropriate to describe an Exhibit attaching a
 deposition as “Exhibit A- Plaintiff’s Deposition.”
         The moving party shall be responsible for furnishing Chambers with a full set of
 courtesy copies of the motion papers, together with a cover letter specifying each document in
 the package. A copy of this cover letter is to be sent to opposing counsel.

        G.     Motions Implicating Rule 4(a)(4)(A) of the Federal Rules of Appellate Procedure
        or Similar Time-Limiting Rules

         If any party concludes in good faith that delaying the filing of a motion, in order to
 comply with any aspect of these individual practices, will deprive the party of a substantive right,
 the party may file the motion within the time required by the Federal Rules of Civil and/or
 Appellate Procedure, together with an explanation for the basis of the conclusion.
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        H.      Oral Argument

        In the ordinary course motions are taken on submission. Parties may request oral
 argument. The Court will determine whether oral argument will be heard and, if so, will advise
 counsel of the date for argument.

 XI.    Pretrial Procedures in Cases Where Parties Consent to Trial Before This Court

        A.      Joint Pretrial Order: Shall include:

                A full caption of the action;

        i.      The names, addresses, telephone numbers and email addresses of all trial counsel;

        ii.      A statement as to whether the issues of: (1) subject matter jurisdiction (2) personal
  jurisdiction and (3) venue are contested. In the event that any of these issues are contested, a
  statement shall be provided by the party raising the objection regarding the basis for such
  objection.
        iii.     A statement identifying the claims to be tried. Such statement should not include a
  recitation of facts or evidence but must include citation to the statutory basis for any claims or
  defenses.

        iv.     A statement as to whether the case is to be tried to the court or before a jury;

        vi.     An estimate as to the number of trial days that will be needed;

        vii.       A list by each party of all fact and expert witnesses that are expected to testify
  as part of its case in chief. For each witness, indicate whether the witness will testify live, via
  deposition or via any other agreed upon means. In the absence of the giving of prompt notice
  andgood cause for supplementing the exchanged witness list, only those witnesses listed will
  be permitted to testify.
        viii.      A list by each party of exhibits to be offered as part of its case in chief. All
  exhibits listed must be marked and exchanged among the parties. This exchange is required
  evenif the exhibits are already in the possession of the other party. Exhibit lists must indicate
  whetherthere are objections to admissibility or whether the exhibits are stipulated as
  admissible. Counselare expected to resolve prior to trial all objections as to authenticity or
  chain of custody. In the absence of the giving of prompt notice and good cause shown for
  supplementing the exhibit list, only those exhibits listed will be permitted to be used at trial.

        ix.     A designation by each party of deposition testimony to be offered in its case in
  chief, along with any cross-designations and objections by any other party.




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             B.      Filings To Be Made Prior To Jury Trials

             Unless otherwise ordered by this court, two weeks prior to the date set for jury
     selection, each party shall file:

             i.     A statement of issues that any party intends to raise as a motion in limine. In the
       event that any such issues are raised, the Court will schedule a pre-motion conference.

             ii.     Any agreed upon stipulation as to what shall be received in evidence.

             iii.    Proposed jury charges. Counsel need only prepare charges as to the elements of
       the claims. The Court will prepare a jury charge regarding general instructions. After review of
       the Court’s general charge, counsel may request any additional charge deemed appropriate for
       thefacts of the case to be tried.

             iv.      On the first day of trial, counsel shall provide the Court with a copy of
       all exhibits, appropriately labeled and indexed. Exhibits should be placed in clearly
       tabbed binders.

             C.      Filings Required For Non-Jury Trials

             i.       One week prior to trial, the parties shall file a trial memorandum of law setting
       forth a brief statement of facts and the legal issues to be tried, along with an analysis of the
       applicable law. The trial brief shall also contain a statement as to the relief sought.


     ii.              Unless otherwise ordered, two weeks after the transcript of the trial is prepared and
available for ordering, the parties shall simultaneously file via ECF, with a courtesy copy toChambers, proposed
findings of fact and conclusions of law. Such submissions shall include precise citations to the trial transcript
and exhibits, together with supporting legal authority.




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                                              APPENDIX A

            STIPULATION AND ORDER REGARDING CONFIDENTIAL INFORMATION

           The following provisions shall govern the exchange of confidential information in this
 matter:

 1.      Counsel for any party may designate any document, information contained in a document,
 information revealed in an interrogatory response or information revealed during a deposition as
 confidential if counsel determines, in good faith, that such designation is necessary to protect the
 interests of the client. Information and documents designated as confidential are to be stamped
 “CONFIDENTIAL.” “Confidential” information or documents may be referred to collectively as
 “Confidential Information.”

 2.      Unless ordered by the court or otherwise provided for herein, the Confidential
 Information disclosed will be held and used by the person receiving such information solely for
 use in connection with the above-captioned action.

 3.      In the event that a party challenges another party’s designation, counsel shall make a good
 faith effort to resolve the dispute, and in the absence of a resolution, the challenging party may
 thereafter seek resolution by the court. Nothing in this Protective Order constitutes an admission
 by any party that Confidential Information disclosed in this case is relevant or admissible. Each
 party specifically reserves the right to object to the use or admissibility of all Confidential
 Information disclosed, in accordance with applicable laws and court rules.

 4.     Information or documents designated as “Confidential” shall not be disclosed to any
 person except:

           a.     The requesting party and counsel, including in-house counsel;

           b.     Employees of such counsel assigned to and necessary to assist in the litigation;

          c.       The Court (including the clerk, court reporter or stenographer, or other person
 having access to Confidential Information by virtue of his or her position with the Court) or the
 jury at trial or as exhibits to motions.

         d.     Subject to the condition set forth in Paragraph 6 below: consultants or experts in
 the prosecution or defense of the matter, to the extent deemed necessary by counsel;

        e.      Subject to the condition set forth in Paragraph 6 below: any person from who
 testimony is taken or is to be taken in this action, except that such a person may only be shown
 Confidential Information during and in preparation for his/her testimony and may not retain the
 Confidential Information; and




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 5.     Prior to disclosing or displaying Confidential Information to any person, counsel shall:


        a.      inform the person of the confidential nature of the information or documents;

          b.    inform the person that this Court has enjoined the use of the information or
 documents by him/her for any purpose other than this litigation and has enjoined the disclosure
 of that information or documents to any other person.

 6.      The Confidential Information may be displayed to and discussed with the persons
 identified in Paragraphs 4(d) and (e) only on condition that prior to any such display each person
 must sign an agreement to be bound by this Order in the form attached hereto as Exhibit A. In
 the event that such person refuses to sign an agreement in the form attached as Exhibit A, the
 party desiring to disclose the Confidential Information may seek appropriate relief from the
 Court.

 7.      The disclosure of a document or information without designating it as “confidential” shall
 not constitute a waiver of the right to designate such document or information as Confidential
 Information provided the material is designated pursuant to the procedures set forth herein no
 later than fourteen (14) days after that close of discovery or fourteen (14) days after the
 production of the document or information. If so designated, the document or information shall
 thenceforth be treated as Confidential Information subject to all of the terms of the Stipulation
 and Order.

 8.      All information subject to confidential treatment in accordance with the terms of this
 Stipulation and Order that is filed with the Court, including any pleadings, motions or other
 papers filed with the Court that includes Confidential Information, shall be filed under seal to the
 extent permitted by law (including, without limitation any applicable rules of court) and shall be
 kept under seal until further order of the Court. To the extent that the Court requires any further
 act by the parties as a precondition to the filing of documents under seal (beyond the submission
 of this Stipulation and Order Regarding Confidential Information), it shall be the obligation of
 the producing party of the documents to be filed with the Court to satisfy any such precondition.
 Where possible, only confidential portions of the filings with the Court shall be filed under seal.

 9.      At the conclusion of the litigation, the Confidential Information and any copies thereof
 shall be promptly (and in no event no later than thirty (30) days after entry of final judgment no
 longer subject to further appeal) returned to the producing party or certified as destroyed, except
 that the parties’ counsel shall be permitted to retain their working files on the condition that such
 files will remain confidential.

         The foregoing is without prejudice to the right of any party to apply to the Court for any
 further Protective Order relating to Confidential Information; or to object to the production of
 documents or information; or to apply to the Court for an order compelling production of
 documents or information; or for modification of this order. This Order may be enforced by any

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 party and any violation of this order may result in the imposition of sanctions by the Court.

                  Exhibit A to Stipulation and Order Regarding Confidential Information


 I have been informed by counsel that certain documents or information to be disclosed to me in

 connection with the matter entitled:                                                            have

 been designated as confidential. I have been informed that any such documents or information

 labeled “CONFIDENTIAL” are confidential by Order of the Court.

         I hereby agree that I will not disclose any information contained in such documents to

 any other person. I further agree not to use any such information for any purpose other than this

 litigation.



                                                        DATED:



 Signed in the presence of:




 _ (Attorney)




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                                                APPENDIX B

                          DISCOVERY PLAN WORKSHEET
                           Tier I Pre-Settlement Discovery
                           TO BE COMPLETED IN ALL CASES


Deadline for completion of Rule 26(a) initial disclosures
and HIPAA-complaint records authorizations:

Completion date for Phase I Discovery
as agreed upon by the parties:
(See paragraph 7 of joint letter requirement)

Status conference TBD by the court:
(Generally 15 days post Tier I Discovery)
                               Tier II Discovery and Motion Practice


Motion to join new parties or amend the pleadings:
(Presumptively 15 days post status conference)


All fact discovery completed by:
(Presumptively 9 months after deadline for
joining parties/amend the pleadings)

Expert discovery completed by:
(Presumptively 3 months after close of fact
discovery)



Final date to take first step in dispositive motion practice:
(Parties are directed to consult the District Judge’s
individual rules regarding such motion practice.
(Presumptively 30 days after close of discovery)

Joint Proposed Pretrial Order to be
submitted:
(30 days after dispositive motion
practice deadline)
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                                          APPENDIX
                                                #: 87C

                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF NEW YORK

                            Plaintiff                                     Case No.

                              , VS.


                            Defendant.

                      ORDER IN FLSA CASE REQUIRING
                      DISCOVERY AND SETTING INITIAL PRETRIAL
                      SCHEDULE

       The Federal Rules of Civil Procedure require a pretrial schedule tailored to the

circumstances of each case. Fed. R. Civ. P. 16, 1. The following order implements that

requirement for cases based on the Fair Labor Standards Act (FLSA).

       The Rule 26(a)(1) provisions on initial disclosures are waived in this case. Instead, the parties

must utilize the following discovery protocol and comply with the following deadlines and requirements:

                 1. By [DATE], the parties must serve on each other (but not file) copies of the

                    following:

             Plaintiff1The documents in the Plaintiff’s possession, custody, or control that pertain to the
                                      unpaid wages claimed in the Complaint.
             Defendant. The time sheets or other time records and payroll records in the
             Defendant’s possession, custody, or control that pertain to work the Plaintiff
              performed during the period for which the Plaintiff claims unpaid wages.
             the policies and practices on compensating workers performing the relevant
             type of work.
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1. If there is more than one Plaintiff or Defendant , the singular reference to the Plaintiff or Defendant includes the
   plural.
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           1.      By [Date, 2 weeks later], the Plaintiff must answer the Court’s Interrogatories

  attached to this Order, under oath or penalty of perjury and serve a copy on the Defendant.

           2.      In collective actions, the exchange of documents in Paragraph 1 will occur for the named

  Plaintiffs and for the opt-in Plaintiffs who join the action before a court-approved opt-in notice is

  issued. This document exchange will occur within 21 days after the opt-in notices are filed with the

  Court. Each opt-in Plaintiff will serve his or her respective answers to the Court’s Interrogatories

  within an additional 21 days.

           3.      By [DATE, 30 days] after the Plaintiff serves answers to the Court’s

  Interrogatories, counsel for the Plaintiff and the Defendant must meet and confer in person in

  good-faith effort to settle all pending issues, including attorneys’ fees and costs.2The parties,

  including a representative of each corporate party with full authority, will at a minimum, be

  available by telephone during the conference to consider and approve any settlement.

  4.       By [DATE], within 7 days after the conference referenced above, counsel must jointly file

  a Report Regarding Settlement that notifies the Court:


  (1) whether the parties have reached an agreement in principle to settle the case and will be submitting

  that agreement to the Court for review and approval;(2) whether the parties have not settled the case but

  want to continue settlement discussions with each other for a specific period, not to exceed two weeks;

  (3) whether the parties are unable to reach settlement, at which point the Court will refer the action to

  mediation.


  5.    Until the parties file the Discovery Planning Report, all discovery in this case is STAYED, except as
        provided in this Order.




2. In the case of an individual party who is not represented by counsel, the individual must comply with the provisions of
this Order.
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     6.     In the event no settlement is reached
                                                #: under
                                                   90 these procedures, and this Court later grants a

motion permitting notice to be sent to similarly situated individuals advising them of their right to opt-in,

the limitations period for any person receiving notice will be tolled from the date of this Order until the

parties file their Rule 26(f) Discovery Planning Report lifting the stay on these proceedings.

          7.   If the parties settle at a later time, they must immediately advise the Court and

promptly submit a joint motion to approve the settlement.

          8.   Due to the volume of cases based on the FLSA, the Court expects strict adherence to

these deadlines and requirements. Exceptions will be granted only for compelling reasons.

          9.   The parties may move to alter this schedule for good cause. Any such request shall only

be made after the parties confer, and shall be made by joint letter request filed via this Court’s ECF

system.


Dated: Central Islip, New York

   Counsel of Record
   Unrepresented Party                                                  ANNE Y. SHIELDS
                                                                        United States Magistrate Judge
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    1.     During what period of time did you#:work
                                                91 for the Defendant?

     2.     Who was your immediate supervisor?

     3.     Did you have a regularly scheduled work period? If so, specify.

     4.     What was your title or position? Briefly describe your job duties.

     5.     What was your regular rate of pay?

     6.     What is the nature of your claim (check all that apply)?

                      Off the clock work (Defendant failed to record, or prohibited you
                                  from recording, all of your working time;

                  Misclassification (Defendant mistakenly classified you as exempt
            from overtime);

                         Misclassification (Defendant failed to correctly calculate your compensation);

                    Other (Please describe);

     7.     Provide an accounting of your claim, including: (a) dates

            (b)     regular hours worked

            (c)     over-time hours worked

            (d)     pay received versus pay claimed

            (e)     total amount claimed

     8.     If you have brought this case as a collective action:

            (a)     Describe the class of employees you seek to include in this action.

             (b)     Has an opt-in notice been filed for every potential opt-in Plaintiff who
             has identified himself or herself as a person who wishes to join this action?
     9.      Please specify all attorney’s fees and costs incurred to date. With respect to attorney’s
     fees, please provide the hourly rate(s) sought and the number of hours expended by each person
     who has billed time to this case.

     10.     When did you (or your attorney) first complain to your employer about alleged
     violations of the FLSA?
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    11.    Was this complaint written or oral?#:(If
                                                 92a written complaint, please attach a copy).




     12.    What was your employer’s response? (If a written response, please attach a copy).




     STATE OF              COUNTY OF

              BEFORE ME, the undersigned authority, on this day, personally appeared Plaintiff
     Name, who being first duly sworn, deposes and says that he/she has read the foregoing
     Answers to Interrogatories, knows the contents of same, and to the best of his/her knowledge and
     belief, the same are true and correct.

                SWORN TO AND SUBSCRIBED before me on this                   day of        ,         .




                                                  NOTARY

                                                 PUBLIC




                                          Signature of Person Taking
                                          Acknowledgement Print Name:
                                          Title Notary Public
     NOTARY STAMP                         Serial No. (if any):
                                          Commission Expires:
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UNITED STATES DISTRICT                                      Case No. [Docket number]
COURT EASTERN DISTRICT OF
NEW YORK


                        X


[Case Caption]


                       X
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                            STIPULATION AND ORDER REGARDING
                           CONDITONAL CERTIFICATION, ISSUANCE
                            OF COLLECTIVE ACTION NOTICE AND
                           DISCLOSURE OF CONTACT INFORMATION

         Plaintiff and Defendants, by and through their undersigned counsel, hereby stipulate and

 agree as follow upon the following premises.


         WHEREAS, Plaintiff commenced this action, bringing claims under the Fair Labor

 Standards Act, as a collective action [and under the New York Labor Law, as class action]1, in

 the United States District Court for the Eastern District of New York; and,


         WHEREAS, Plaintiff alleges [he/she] was employed by Defendants as [JOB

 DESCRIPTION]2 for Defendants’ business, and seeks to represent a collective and class

 comprised of similarity situated workers under the Fair Labor Standards Act [and New

 York Labor Law]3; and,


         WHEREAS, instead of expending resources litigating Plaintiff’s anticipated motion for

 collective action conditional certification and notice pursuant to 29 U.S.C. § 216(b), the parties,

 without prejudice to Defendants’ rights to challenge collective action certification at a later date,

 have negotiated the terms of a proposed notice to be sent to members of the alleged collective

 (“the Notice”) and the process for disseminating the Notice;
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 WHEREAS, the parties have reached agreement on the scope, form and
 manner of distribution of the Notice in this matter, subject to the Court’s
 approval; and


         NOW THEREFORE IT IS STIPULATED AND AGREED AS FOLLOWS:


         1.      Within fourteen (14) business days after the Court has “So Ordered” this
 Stipulation, Defendants shall provide to Plaintiff’s counsel the names and last known mailing
 addresses of all [JOB DESCRIPTION]4employed by Defendants at any point in time from
            , [NUMBER5 YEARS PRIOR TO THE DATE OF THE COMPLAINT] (“Collective
 List” or putative collective members”) for the purpose of mailing the Notice as set forth herein.

         2.      Within twenty-one (21) days after Plaintiff’s receipt of the names and mailing
 addresses noted in Paragraph 1, Plaintiff’s counsel shall mail the Notice to each individual on the
 4.
         The individuals on the Collective List shall have 60 days from the date on which the
 Notice is mailed (the “Opt-in Period”) to return the “Consent to Join” form in the manner set
 forth in the Notice. Individuals whose initial Notice is returned as undeliverable and for whom a
 forwarding address is supplied shall have 10 additional days from the date on which a second
 Notice is sent to return the “Consent to Join” form to Plaintiff’s counsel. Only individuals
 submitting a “Consent to Join” form by the deadlines set forth herein shall be eligible to join the
 collective action in this matter unless Defendants consent otherwise, in writing, or Plaintiffs
 make an application to the Court demonstrating that good cause exists for accepting any untimely
 submission;




 United States Magistrate
 Judge Central Islip, New
 York [DATE]


 1
   Insert only if appropriate.
 2
   Insert job title/job description. 3 Insert only if appropriate.
 4
   Insert job title/job description.
   5
     While the parties are not expected to agree to any issues of willfulness, this order provides for
  the insertion of three (3) years for FLSA claims and six (6) years for cases that assert both NYLL
                                              and FLSA claims.
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 Collective List. Plaintiff’s counsel may re-mail notice to any putative collective member whose
 Notice is returned as undeliverable, with a forwarding address;

        3.     All names and addresses of individuals on the Collective List provided by
 Defendants to Plaintiff’s counsel shall remain confidential pursuant to this Court’s Stipulation
 and Order regarding Confidential Information;




         5.    During the sixty (60) day period which putative class members may opt-in to the
 lawsuit, Defendants shall post an English [and        translated]6copy of the Notice of Lawsuit
 in a conspicuous location.

         6.      Within seven (7) days of receipt of a “Consent to Join” form, Plaintiff’s counsel shall
 electronically file such form via the Court’s electronic case filing system (“ECF”) on the docket in
 this matter.
 Dated:                                                 [Defendants’
                                                        Counsel]
 [Plaintiff’s
 Counsel]


 By:                                                    By:



 SO ORDERED:




 Hon. Anne Y. Shields




 6.Insert translated languages if applicable.
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

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[Case Caption]                                                      Case No. [Docket number]


                                    X




                               COURT AUTHORIZED NOTICE OF LAWSUIT

If you worked at [DEFENDANTS’ BUSINESS] between [NUMBER1 YEARS FROM DATE OF THE
COMPLAINT] and the present, a collective action lawsuit may affect your legal rights.

           Important: You are NOT being sued. This Notice is NOT a solicitation from a lawyer.
                                   The Court authorized this Notice.

• Plaintiff, [Plaintiff’s name] is a former employee of [Defendants’ business], where he worked as
        a [job description]2. Plaintiff, [Plaintiff’s name] brought this lawsuit against Defendants on
        behalf of himself and all other potential, current, and former [similarly situated p
        ersons/JOB DESCRIPTIONS] employed by the Defendants as of [NUMBER YEARS FROM
        DATE OF
        THE COMPLAINT]. Plaintiff claims that Defendants did not pay its hourly employees [all
        minimum wages and overtime due to them]3.

Defendants deny any wrongdoing and/or liability and maintain that all of their employees are paid in
compliance with [TYPE OF]4 law.

• THIS NOTICE AND ITS CONTENTS HAVE BEEN AUTHORIZED BY THE UNITED STATES
DISTRICT COURT, EASTERN DISTRICT OF NEW YORK. THE COURT HAS TAKEN NO
POSITION IN THIS CASE REGARDING THE MERITS OF THE PLAINTIFF'S CLAIMS OR OF
THE DEFENDANTS' DEFENSES. UNITED STATES DISTRICT COURT EASTERN DISTRICT OF
NEW YORK.
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                                        #: 98
                    YOUR LEGAL RIGHTS AND OPTIONS IN THIS LAWSUIT

     ASK TO BE           If you choose to be included in this collective action, you will be bound b y an
     INCLUDED            y
                         ruling, settlement or judgment in this case. You may also share in an y
                         proceeds
                         from a settlement or judgment if those bringing the claims are successful. If yo
                         choose to be included you will give up an y rights to separately sue the
                         Defendants about the same legal claims in this lawsuit
                                                                                                              u

    DO NOTH ING          asserting a [minimum wage or overtime claim under federal]5 law. This means
                         that you give up the possibility of getting mone y or benefits that ma y come fr
                         a trial or settlement of the [minimum wage or overtime claims under federal] 6
                         law asserted in this lawsuit, if those bringing the lawsuit are successful.


 1. Why did I get this notice?

                          By doing nothing, you will not be included in this lawsuit for the purpose of om




You are getting this notice because Defendants’ records show that you may have worked as a [JOB
DESCRIPTION] in [DEFENDANTS’ BUSINESS] from [NUMBER OF YEARS FROM DATE OF
THE COMPLAINT] to the present. Plaintiff sued the Defendants claiming they violated various
provisions of [TYPE OF] laws.

2. What is a collective action and who is involved?

In a collective action lawsuit, one or more persons can bring a lawsuit on behalf of others who have
similar claims. The individual who brought this lawsuit is called the Plaintiff. The corporate entities
and individuals that they have sued are called the Defendants. One Court resolves the issues for
everyone who decides to join the case.

3. What is this collective action lawsuit about?

This collective action lawsuit is about whether Defendants’ compensation practices violate [TYPE OF]
law. The lawsuit alleges that Defendants violated [TYPE OF] law by not paying Plaintiff and other
                                                                                   7
employees similarly situated [minimum wages and overtime owed to them]               . Plaintiff is seeking
to recover unpaid wages, in addition to liquidated damages, attorneys’ fees, and costs.

Defendants deny any wrongdoing and/or liability and maintain that all of their employees were
and continue to be paid in accordance with [TYPE OF] law.
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4. How do I join this collective action lawsuit? #: 99

To participate in this lawsuit through the Plaintiff’s attorney, you must fill out the enclosed form called
“Consent to Join” and mail it in the enclosed, postage -paid envelope to Plaintiff’s lawyers. Should the
enclosed envelope be lost or misplaced, the “Consent to Join” Form must be sent to:

                                           [Plaintiff’s Attorney’s
                                                Information]

             You can also fax the “Consent to Join” form to [ FAX # ] or scan and email it to
                                             [EMAIL ADDRESS]

The signed “Consent to Join” form must be postmarked, faxed, or e-mailed by [60 days from mailing of
notice]. If your signed “Consent to Join” form is not postmarked, faxed, or e -mailed by [60 days from
mailing of notice], you may not be allowed to participate in the federal law portion of this lawsuit.

You have a right to be represented by your own attorney, but you will be responsible for making
arrangements for payment of the fees of the attorney you select. The attorney you hire must file with the
court a “Consent to Join” form by [60 days from mailing of notice] and must enter a formal appearance
as attorney on your behalf.


5. What happens if I join the collective action lawsuit?

You will be bound by any ruling, settlement, or judgment, whether favorable or unfavorable. If there is a
favorable resolution, either by settlement or judgment, and you qualify under the law, you will be
entitled to some portion of the recovery.

If you join this lawsuit and send your “Consent to Join” form to [Plaintiff’s Attorney], you agree to have
the Plaintiff and his counsel act as your representative and make decisions on your behalf concerning the
case, including approving any settlement. Deci sions made and agreements entered into by the Plaintiff
and his counsel will be binding on you if you join this lawsuit, subject only to the Court’s discretion. If
you hire your own attorney, you will be bound by decisions and agreements that your attorneymakes on
behalf of this lawsuit.

If you join this lawsuit, you may be asked to give testimony and information about your work for
[DEFENDANTS] to help the Court decide whether you are owed any money. Plaintiff’s counsel will
assist you with this process. For this reason, if you join this lawsuit, you should preserve all documents
relating to your employment currently in your possession.

6. What happens if I do nothing at all?

You will not be included in this lawsuit for the purpose of asserting a [minimum wage or overtime claim
under federal]8 law. Therefore, you will not be entitled to any recovery in this case should there be any
for those claims. The limitations period on your claims continues to run.

7. If I join, will there be any impact on my employment?

The law prohibits Defendants from discharging or retaliating against you because you join this case or
have in any other way exercised your rights under the law.
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8. Do I have a lawyer in this case?

Plaintiff is represented by [Plaintiff’s Attorney’s name]. If you join by sending your opt -in to the
Plaintiff’s attorney, [Plaintiff’s Attorney’s name] will represent you on a contingency fee basis, meaning
you will not owe any attorneys’ fees unless you are successful and win the case, or obtain a settlement.

9. Do the Defendants have a lawyer in this case?

The Defendants in this case are represented by [Defendants’ Attorney’s name and information].
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

- -------------------------------------X


[Case Caption]                                                        Case No. [Docket number]


                                    X


IF YOU RECEIVED THIS FORM AND WANT TO JOIN THIS LAWSUIT, PLEASE COMPLETE
THESE TWO STEPS:

1. COMPLETE AND SIGN THIS CONSENT TO JOIN LAWSUIT FORM; AND

2. USE THE ENCLOSED ENVELOPE TO RETURN THIS FORM TO THE ADDRESS BELOW
NOT LATER THAN [60 days from mailing of notice].

                                                [Plaintiff’s
                                               Attorney’s
                                               Information]

                    YOU CAN ALSO FAX THE CONSENT TO JOIN FORM TO [FAX
                            NUMBER] OR SCAN AND EMAIL IT TO:
                                               [EMAIL ADDRESS]



I consent to join the collective action and authorize [Plaintiff’s Attorney] to act on my behalf in
all matters relating to this action, including any settlement of my claims.
                 SIGNATURE                            City, State, Zip Code




                                                      Email Address
Address




Telephone Number
             PRINT NAME
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Start Date                                           End Date




1
  While the parties are not expected to agree to any issues of willfulness, this order provides for the
insertion of three (3) years for the FLSA claims and six (6) years for cases that assert both NYLL and
FLSA claims.
2
  Insert title/job description.
3
  Specify the allegations against Defendants.
4
  Insert either federal (FLSA) or federal and state (FLSA/NYLL).
5
  Specify alleged violations and type of laws violated (federal or federal and state).
  6
    Specify alleged violations and type of laws violated (federal or federal and state). 7 Specify
                                the allegations against Defendants.
8
  Specify alleged violations and type of laws violated (federal or federal and state).




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                            INITIAL DISCOVERY
                                 PROTOCOLS
                     FOR EMPLOYMENT CASES ALLEGING
                             ADVERSE ACTION



     PART 1: INTRODUCTION AND DEFINITIONS.

     (1) Statement of purpose.


                 a.      These Initial Discovery Protocols for Employment Cases Alleging
                 Adverse Action (the “Protocols”) were prepared by a group of highly
                 experienced attorneys from across the country who regularly represent
                 plaintiffs and/or defendants in employment matters. The information and
                 documents identified are those most likely to be requested automatically by
                 experienced counsel in any similar case. They are unlike initial disclosures
                 pursuant to F.R.C.P. 26(a)(1) because they focus on the type of information
                 most likely to be useful in narrowing the issues for employment
                 discrimination cases.

                 b.     The Protocols apply to all employment cases that challenge one
                 or more actions alleged to be adverse, except:

                        i. Class actions;

                     ii. Cases in which the allegations involve only the following:
                                1. Discrimination in hiring;
                              2. Harassment/hostile work environment;
                                3. Violations of wage and hour laws under the Fair
                                Labor Standards
                                    Act (FLSA) (for such actions see this Court’s rules
                                    with respect to discovery in FLSA cases);
                                4. Failure to provide reasonable accommodations under
                                the Americans with Disabilities Act (ADA);
                               5. Violations of the Family Medical Leave Act (FMLA); 6.
                                   Violations of the Employee Retirement Income Security
                                   Act (ERISA).
                   Notwithstanding the foregoing, counsel may use these protocols in any
    action they deem such use appropriate.

     If any party believes that there is good cause why a particular case should be exempted,

                                                1
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    in whole or in part, that party may raise such reason with the Court via telephone
                                                #: 104
    conference arranged with the court with all counsel appearing.

                        c. Disclosure obligations below are separated into “Production”
     obligations, and obligations to provide “Information.” “Production” obligations take the
     place of formal document requests and “Information” obligations are used in lieu of
     formal interrogatories. While particular cases may require additional limited documents
     requests, the requests for information are intended to displace the need for interrogatories.
     Instead, it is expected that next step in discovery following completion of the obligations
     under this Rule will be deposition discovery.


                   d.      These Initial Discovery Protocols are not intended to preclude or to
                   modify the rights of any party for discovery as provided by the Federal
                   Rules of Civil Procedure (F.R.C.P.) and other applicable local rules, but
                   they are intended to supersede the parties’ obligations to make initial
                   disclosures pursuant to F.R.C.P. 26(a)(1).The purpose of the protocols is
                   to encourage parties and their counsel to exchange the most relevant
                   information and documents early in the case, to assist in framing the issues
                   to be resolved and to plan for more efficient and targeted discovery.

                   e.     Protective Order If counsel deem a protective order necessary,
                   theyare directed to consult and execute this Court’s form protective order,
                   whichincludes an order under Rule 502 of the Federal Rules of Evidence




      (2) Definitions. The following definitions apply to cases proceeding under the Initial
      Discovery
          Protocols.


                   a.     Concerning. The term “concerning” means referring to,
                   describing, evidencing, or constituting.


                   b.     Document. The terms “document” and “documents” are defined to
                   be synonymous in meaning and equal in scope to the terms “documents”
                   and“electronically stored information” as used in F.R.C.P. 34(a).


                   c.      Identify (Documents). When referring to documents, to “identify”
                   means to give, to the extent known: (i) the type of document; (ii) the general
                   subject matter of the document; (iii) the date of the document;
                           (iv) the author(s), according to the document; and (v) the person(s)
                           to whom, according to the document, the document (or a copy) was


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                     to have been sent; or,
                                         #: alternatively,
                                            105            to produce the document.


                   d.      Identify (Persons). When referring to natural persons, to “identify”
                   means to give the person’s: (i) full name; (ii) present or last known address
                   and telephone number; (iii) present or last known place of employment; (iv)
                   present or last known job title; and (v) relationship, if any, to the plaintiff or
                   defendant. Once a person has been identified in accordance with this
                   subparagraph, only the name of that person need be listed in response to
                   subsequent discovery requesting the identification of that person.

    (iii) Instructions.


                   a. For this Initial Discovery, the relevant time period begins three years
                   before the date of the adverse action, unless otherwise specified.

                   b. This Initial Discovery is not subject to objections except upon the
                   ground of privilege or those set forth in F.R.C.P. 26(b)(1).


                   c. If a partial or incomplete answer or production is provided, the
                   responding party shall state the reason that the answer or production is
                   partial or incomplete. Any document withheld must be described with
                   specificity, and the grounds for such withholding must be similarly
                   stated.


                   d. This Initial Discovery is subject to F.R.C.P. 26(e) regarding
                   supplementation and F.R.C.P. 26(g) regarding certification of responses.


                   e. This Initial Discovery is subject to F.R.C.P. 34(b)(2)(E) regarding
                   form of production.

     PART 2: PRODUCTION BY PLAINTIFF.

     (1) Timing.

                   a. The plaintiff’s Initial Discovery shall be provided within 30 days after the
                   defendant has submitted a responsive pleading or motion, unless the court
                   rules otherwise.

     (2) Documents that Plaintiff must produce to Defendant.

                   a. All communications concerning the factual allegations or claims at issue


                                                    3
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                in this lawsuit between the plaintiff
                                             #: 106 and the defendant.

                  b. Claims, lawsuits, administrative charges, and complaints by the plaintiff
                  that rely upon any of the same factual allegations or claims as those at
                  issue in this lawsuit.

                  c. Documents concerning the formation and termination, if any, of
                  the employment relationship at issue in this lawsuit, irrespective of
                  the relevant time period.

                  d. Documents concerning the terms and conditions of the
                  employment relationship at issue in this lawsuit.

                  e. Diary, journal, and calendar entries maintained by the plaintiff
                  concerning the factual allegations or claims at issue in this lawsuit.

                  f. The plaintiff’s current resume(s).

                  g. Documents in the possession of the plaintiff concerning claims for
                  unemployment benefits, unless production is prohibited by applicable
                  law.

                  h. Documents concerning: (i) communications with potential employers;
                      (ii) job efforts; and (iii) offer(s) of employment, job description(s),
                      and income
                      and benefits of subsequent employment. The defendant shall not
                      contact or subpoena a prospective or current employer to discover
                      information about the plaintiff’s claims without first providing the
                      plaintiff 30 days notice and an opportunity to file a motion for a
                      protective order or a motion to quash such subpoena. If such a
                      motion is filed, contact will not be initiated or the subpoena will not
                      be served until the motion is ruled upon.

                 i. Documents concerning the termination of any subsequent employment.

                  j. Any other document(s) upon which the plaintiff relies to support the
                  plaintiff’s claims.

      (3) Information that Plaintiff must produce to Defendant.

                  a. Identify persons the plaintiff believes to have knowledge of the facts
                  concerning the claims or defenses at issue in this lawsuit, and a brief
                  description of that knowledge.

                  b. Describe the categories of damages the plaintiff claims.



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               c. State whether the plaintiff has applied for disability benefits and/or
               social security disability benefits after the adverse action, whether any
               application has been granted, and the nature of the award, if any. Identify
               any document concerning any such application.




     PART 3: PRODUCTION BY DEFENDANT.

        (1) Timing.


               a. The defendant’s Initial Discovery shall be provided within 30 days after
               the defendant has submitted a responsive pleading or motion, unless the
               court rules otherwise.

        (2) Documents that Defendant must produce to Plaintiff.

               a. All communications concerning the factual allegations or claims at
               issue in this lawsuit among or between:
                      i. The plaintiff and the defendant;
                      ii. The plaintiff’s manager(s), and/or supervisor(s), and/or
                      the defendant’s human resources representative(s).

               b. Responses to claims, lawsuits, administrative charges, and complaints by
               the plaintiff that rely on the same factual allegations or claims as those at
               issue in this lawsuit.

               c. Documents concerning the formation and termination, if any, of the
               employment relationship at issue in this lawsuit, regardless of the relevant
               time period.

               d. The plaintiff’s personnel file, in any form, maintained by the defendant,
               including files concer ning the plaintiff maintained by the plaintiff’s
               supervisor(s), manager(s), or the defendant’s human resources
               representative(s), regardless of the relevant time period.

               e. The plaintiff’s performance evaluations and any formal discipline.


               f. Documents relied on to make the employment decision(s) at issue in this

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              lawsuit.


              g. Workplace policies or guidelines relevant to the adverse action in effect
              at the time of the adverse action. Depending upon the case, those may
              include policies or guidelines that address:
                          i.      discipline;
                          ii.     termination of employment; iii.
                                        promotion;
                          iv.     discrimination;
                          v.      performance reviews or evaluations;
                          vi.     misconduct;
                          vii.    retaliation; and
                          viii. nature of the employment relationship.

              h. The table of contents and index of any employee handbook, code of
              conduct, or policies and procedures manual in effect at the time of the
              adverse action.

              i. Job description(s) for the position(s) that the plaintiff held.

              j. Documents showing the plaintiff’ s compensation and benefits. Those
              normally include retirement plan benefits, fringe benefits, employee
              benefit summary plan descriptions, and summaries of compensation.




              k. Agreements between the plaintiff and the defendant to waive jury trial
              rights or to arbitrate disputes.

              l. Documents concerning investigation(s) of any complaint(s) about the
              plaintiff or made by the plaintiff, if relevant to the plaintiff’s factual
              allegations or claims at issue in this lawsuit and not otherwise
              privileged.
              m. Documents in the possession of the defendant and/or the defendant’s
              agent(s) concerning claims for unemployment benefits unless
              production is prohibited by applicable law.


              n. Any other document(s) upon which the defendant relies to support the
              defenses, affirmative defenses, and counterclaims, including any other
              document(s) describing the reasons for the adverse action.

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     iii. Information that Defendant must produce to Plaintiff.


                a. Identify the plaintiff’s supervisor(s) and/or manager(s).


                b. Identify person(s) presently known to the defendant who were involved
                in making the decision to take the adverse action.

                c. Identify persons the defendant believes to have knowledge of the facts
                concerning the claims or defenses at issue in this lawsuit, and a brief
                description of that knowledge.


                d. State whether the plaintiff has applied for disability benefits and/or
                social security disability benefits after the adverse action. State whether
                the defendant has provided information to any third party concerning the
                application(s). Identify any documents concerning any such application
                or any such information provided to a third party.




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                                         APPENDIX G

                          Judge Shields’ Initial Joint Letter Requirements

    2 DAYS PRIOR TO THE INITIAL CONFERENCE, COUNSEL MUST SUBMIT A

    JOINT LETTER ON THE DOCKET stating:

    1. Name of the case

    2. Basis for federal jurisdiction

    3. Statement confirming that all defendants have been served and answered

    4. Statement as to whether there are counterclaims or crossclaims; descriptions of such

        claims; and confirmation that all parties have been served with respect to such claims

    5. Plaintiff’s explanation of the facts of the case as known to the plaintiff as of the date of the

        writing of the letter. The parties may also include Defendant's position as to the facts,

        as known to them as of the writing of the letter.

    6. Where appropriate to case, a statement that all HIPPA compliant authorizations have been

        provided or the date upon which those authorizations will be provided and, where

        applicable, that authorizations will be provided on a rolling basis

    7. Joint statement describing in detail the paper discovery that can be exchanged — without

        the necessity for formal document requests. Such statement must include the date by which

        such paper discovery will be complete. Absent unusual circumstances, that date shall be

        no longer than 60 days following the date of the status letter

    8. A date for submission of a joint status letter and proposed date for the next telephone

        status conference with the Court.

    If counsel fails to timely submit the required joint letter, the Court will require that

    counsel immediately submit the letter along with a one-page explanation as to counsels’

    failure to comply with this Court’s rules.
